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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                        Hon. Stanley R. Chesler
                                                 Crim. No. 09-501

                                                 CONTINUANCE ORDER
ROBINSON BORDAMONTE,          et al.


             This matter having come before the Court on the joint

application of        Paul J.    Fishman,     United States Attorney for the

District of New Jersey           (by Leslie Faye Schwartz,         Assistant U.S.

Attorney),        and defendants Leo Genese III          (by Pasquale F.

Giannetta,        Esq.),   and Peter Ventricelli        (by Arthur J.

Abrams,   Esq.)      for an order granting a continuance of the

proceedings in the above-captioned matter,                 and each of the

defendants being aware that he has a right to have the matter

brought to trial within 70 days of the date of his appearance

before a judicial officer of this court pursuant to Title 18
                                                             of
the United States Code,           Section 3161(c) (1),      and as the defendants

have consented to an additional continuance,                 and for good and

sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

be continued for the         following reasons:

             1.     Defendant Leo Genese has entered into a plea

agreement with the government and requires additional time
                                                           to

finalize the plea documents and enter a guilty plea,                   which plea

would render a trial on his pending criminal charges unnece
                                                            ssary;
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              2.     Defendant Peter Ventricelli has recently changed

counsel and new counsel requires sufficient time
                                                 to review the

discovery and investigate the charges in this matter
                                                     ;
              3.     Both defendants have consented to the

aforementioned continuance;             and

            4.       Pursuant to Title 18 of the United States Code,

Section 3161(h) (7) (a>     ,    the ends of justice served by granting the

continuance outweigh the best interests of the public
                                                      and the

defendant in a speedy trial.

           WHEREFORE,       on this day of February 2010,

           IT IS ORDERED that the trial in this matter set for

February 3,        2010 is adjourned;     and

           IT IS FURTHER ORDERED that a new trial date shall be

set after counsel for defendant Peter Ventricelli has a chance
                                                               to

review the charges and discovery in this matter;                   and

           IT IS FURTHER ORDERED that the period from February 3,

2010 through March 15,          2010,   shall be excludable in computing

time under the Speedy Trial Act of              1974,   pursuant to Title 18,

United States Code,       Section 3161(h) (8)




                                                   S   LEY R. CHESLER
                                              United States District Judge
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Consented to and Agreed to By:



Leslie F, Schwartz,
A3sistant U.S. Attorney




Pasquale Giannetta. Esq.
Counsel for Leo Genese




Counsel      Peter
